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                                                                    USDC SDNY
UNITED STATES DISTRICT COURT
                                                                    DOCUMENT
SOUTHERN DISTRICT OF NEW YORK
                                                                    ELECTRONICALLY FILED
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 SINGULARDTV GmbH,                                              :   DATE FILED: 12/9/21
                                                                :
                                              Plaintiff,        :
                            -against-                           :
                                                                :     21-CV-10130 (VEC)
 ZACHARY LEBEAU and KIMBERLY                                    :
 JACKSON,                                                       :          ORDER
                                                                :
                                              Defendants. :
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VALERIE CAPRONI, United States District Judge:

        WHEREAS a teleconference was held on December 9, 2021;

        IT IS HEREBY ORDERED that the preliminary injunction hearing currently scheduled

for Tuesday, December 14, 2021, at 10:00 a.m. is ADJOURNED until Wednesday, January 5,

2022 at 11:00 a.m. in Courtroom 443, Thurgood Marshall U.S. Courthouse, 40 Foley Square,

New York, NY 10007. The parties should note that this is a different date and time than that

stated on the record during the December 9, 2021 teleconference, in which the Court indicated

that the hearing would take place on Tuesday, January 4, 2022, at 10:00 a.m. The Court realized

after the telephone conference that it has a conflicting hearing that day that cannot be changed

and apologizes for any inconvenience the change in date and time causes.

        IT IS FURTHER ORDERED that Plaintiff’s two Switzerland-based witnesses, Mr. Patrik

Allenspach and Mr. Michael Mraz, may testify via video.

        IT IS FURTHER ORDERED that Plaintiff must still reply to Defendants’ briefing in

opposition to the motion for a preliminary injunction by December 10, 2021. In light of the

adjourned date for the hearing, Defendants may supplement or substitute their briefing in

opposition not later than December 27, 2021. Defendants are cautioned that the Court is NOT
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authorizing the submission of a surreply. Plaintiff may reply to any additional or substituted

briefing by the Defendants not later than January 3, 2022, at 10:00 a.m.

        IT IS FURTHER ORDERED that the parties must submit witness lists to the Court,

including the anticipated length of direct testimony, not later than December 29, 2021. Courtesy

copies of any exhibits either party intends to introduce must be provided to the Court

electronically to CaproniNYSDChambers@nysd.uscourts.gov not later than noon, January 3,

2022.

        IT IS FURTHER ORDERED that the existing Temporary Restraining Order, as

amended, is extended until January 5, 2022.



SO ORDERED.
                                                     _________________________________
                                                     ____
                                                       ____________________________
                                                       __
Date: December 9, 2021                                     VALERIE CAPRCAPRONI
                                                                           PRONI
                                                                           PR
      New York, NY                                        United States District Judge
